
644 So.2d 21 (1994)
STATE DEPARTMENT OF HUMAN RESOURCES ex rel. Betty LARO
v.
David GRAY.
STATE DEPARTMENT OF HUMAN RESOURCES ex rel. Charlotte LASTER
v.
George HALL.
STATE DEPARTMENT OF HUMAN RESOURCES ex rel. Barbara NORWOOD
v.
Gregory NORWOOD.
AV92000769 to AV92000771.
Court of Civil Appeals of Alabama.
June 30, 1994.
*22 William Prendergast and Mary E. Pons, Asst. Attys. Gen., for Dept. of Human Resources, for appellant.
No briefs filed for appellees.
YATES, Judge.
These three appeals are from cases that originated in the Circuit Court of Lee County. The State Department of Human Resources filed contempt petitions against three fathers for their failure to pay previously ordered child support, requesting post-judgment interest on the arrearage. The trial court ordered the father in each case to pay the arrearage, but denied the Department's requests for post-judgment interest. The Department appeals, arguing that the trial court erred in failing to award post-judgment interest on the child support arrearages.
Alabama law is clear that an order to pay child support is a final judgment as of the due date and that an arrearage may be collected as any other judgment is collected. State Department of Human Resources ex rel. McGhee v. McGhee, 634 So.2d 573 (Ala. Civ.App.1994). Further, the failure to impose interest on an arrearage when interest has been properly requested is error. Id.
At the hearing in each case, the calculation of the arrearage and post-judgment interest was introduced without objection; the request for interest was denied, contrary to law. Accordingly, the judgment of the trial court in each of the three cases is reversed, and the causes are remanded with instructions for the trial court to enter an order consistent with this opinion.
REVERSED AND REMANDED WITH INSTRUCTIONS.
ROBERTSON, P.J., and THIGPEN, J., concur.
